                            UNITED STATES OISTRICT COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DMSION

                                       No. 7:10-CR-43-6-F



UNITED STATES OF AMERICA                        )
                                                )
               v.                               )
                                                )
ROBERT STACY McNEAL,                            )
             Defendant.                         )



               In order that defense counsel be afforded a reasonable time to confer with his

client and the Government, and to prepare for adjudication ofthis matter, it is ORDERED that

the arraignment and trial of the above-captioned action is CONTINUED until this court's

November 8, 2010, term of court in Wilmington.

               Because the court concludes that the interests ofjustice outweigh the interests of

the defendant and the public in a speedy trial, any period of delay occasioned by this

continuance shall be excluded in computing the defendant's speedy trial time. 18 U.S.C. §

3161(h).

               SO ORDERED.

               This, the 8 th day of September, 2010.



                                                              ESC. FOX
                                                            nior United States District Judge




           Case 7:10-cr-00043-BO      Document 132        Filed 09/09/10     Page 1 of 1
